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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


 UNITED STATES OF AMERICA                                   CASE NO. 2:17-CR-138(1)

                Plaintiff,
                                                            JUDGE JAMES L. GRAHAM
        v.

 BERND D. APPLEBY

                Defendant.



         GOVERNMENT’S RESPONSE TO DEFENDANT BERND APPLEBY’S
                MOTION FOR COMPASSIONATE RELEASE

       The United States, by and through undersigned counsel, hereby submits the following

response to Defendant Bernd Appleby’s motion for compassionate release. For the reasons set

forth below, the motion should be denied because the Court lacks the authority to grant the relief

that the defendant is seeking.

                                 MEMORANDUM IN SUPPORT

I.     Procedural Background

       On August 16, 2017, Bernd Appleby entered a plea of guilty to Count One of the

Information, which charged him with conspiracy to commit wire fraud, in violation of 18 U.S.C.

§ 1349. (Docs. #1 and #22.) Mr. Appleby’s guilty plea was consistent with the terms of the plea

agreement in which with United States and the defendant entered pursuant to Rule 11(c)(1)(C) of

the Federal Rules of Criminal Procedure. (See Doc. #3.) In pleading guilty, the defendant

admitted that over a period of years, he and his co-conspirators agreed to fraudulently obtain

intellectual property worth millions of dollars to enrich themselves and their company. (Id.)


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        On April 5, 2018, the Court accepted the parties’ Rule 11(c)(1)(C) plea agreement. (Doc.

#105.) On that same day, Mr. Appleby appeared for sentencing. (Doc. #100.) The Court

imposed a sentence of 24 months of imprisonment, two years of supervised release, and a fine of

$100,000. (Doc. #102.)

        On September 9, 2019, Mr. Appleby sent the Court a letter requesting that his sentence be

reduced. (Doc. #125.) The Court construed the defendant’s request as a motion for

compassionate release under 18 U.S.C. § 3582(c)(1)(A) and denied the motion, concluding that

the requirements of the statute had not been satisfied. (Doc. #126.) In reaching this decision, the

Court found that the Director of the Bureau of Prisons (BOP) had not filed a motion for

reduction of Mr. Appleby’s sentence and the defendant had not fully exhausted his

administrative remedies. (Id.)

        On April 9, 2020, Mr. Appleby filed a second motion for compassionate release. (Doc.

#135.) 1 In his motion, the defendant requests his “immediate release to home confinement in

light of the COVID-19 pandemic.” (Id. at PAGEID # 1058.) Because the defendant’s motion

fails to satisfy the statutory requirements for compassionate release, it should be denied. To the

extent that Mr. Appleby is asking this Court to order the BOP to change his place of

confinement, the motion should similarly be denied.




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  Between the filing of the first and second motions for compassionate release, Mr. Appleby filed a motion to vacate
his sentence under 28 U.S.C. § 2255. (Doc. #129.) On December 20, 2019, Magistrate Judge Vascura issued a
Report and Recommendation (R&R) recommending that the motion be denied. (Doc. #130.) On April 16, 2020,
this Court issued an order adopting and affirming the R&R, dismissing the defendant’s motion to vacate, and
declining to issue a certificate of appealability. (Doc. #137.)

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II.    Argument

       A.      The Court Lacks Jurisdiction to Grant the Defendant’s Motion for
               Compassionate Release.

       A district court generally cannot reduce or modify a sentence of imprisonment once it has

been imposed, unless expressly permitted by statute or Rule 35 of the Federal Rules of Criminal

Procedure. 18 U.S.C. § 3582(b); see Dillon v. United States, 560 U.S. 817, 824 (2010) (“A

judgment of conviction that includes a sentence of imprisonment constitutes a final judgment and

may not be modified by a district court except in limited circumstances.”). In his motion,

Mr. Appleby appears to be seeking compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A).

       Mr. Appleby’s motion for compassionate release should be denied because this Court

lacks authority to act on the defendant’s motion at this time. Under the relevant statute, the

Court “may not modify a term of imprisonment” based on a defendant’s motion until “after the

defendant has fully exhausted all administrative rights to appeal a failure of the Bureau of

Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of

such a request by the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C.

§ 3582(c)(1)(A) (emphasis added). This restriction is mandatory and jurisdictional. As the Third

Circuit recently confirmed, where 30 days have not passed following presentation of a request to

a warden, the statute “presents a glaring roadblock foreclosing compassionate release at this

point.” United States v. Raia, -- F.3d --, 2020 U.S. App. LEXIS 10582, at *5-6 (3d Cir. Apr. 2,

2020). Other courts have similarly emphasized the significance of this statutory requirement.

See, e.g., United States v. Epstein, No. 14-287, 2020 U.S. Dist. LEXIS 62833, at *10 (D.N.J.

Apr. 9, 2020) (applying Raia to motion for compassionate release based on fear of COVID-19

and concluding that exhaustion requirement in section 3582(c)(1)(A) is not subject to judicially

created exceptions); United States v. Eberhart, No. 13-CR-00313, 2020 U.S. Dist. LEXIS 51909,

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at *4 (N.D. Cal. Mar. 25, 2020) (“Because defendant has not satisfied the exhaustion

requirement, the court lacks authority to grant relief [based on COVID-19] under

§ 3582(c)(1)(A)(i).”).

       For an inmate seeking a reduction or modification of his sentence, compliance with the

statutory requirements of section 3582(c)(1)(A) is not voluntary. Although judicially created

prudential exhaustion requirements may in some circumstances be excused or waived, courts

may not ignore or excuse exhaustion requirements mandated by statute. Cf. Ross v. Blake, 136

S. Ct. 1850, 1857 (2016) (holding that mandatory language of Prison Litigation Reform Act’s

exhaustion requirement could not be excused, even based on special circumstances). This is true

even where, as here, the request for release is made in the context of a national crisis. See United

States v. Alam, No. 15-20351, 2020 U.S. Dist. LEXIS 61588, at *6 (E.D. Mich. Apr. 8, 2020)

(“[M]any other courts around the county have also concluded that a failure to satisfy 18 U.S.C.

§ 3582(c)(1)(A)’s filing requirements bars defendants from filing motions for compassionate

release, and that the judiciary has no power to craft an exception to these requirements for

defendants seeking release during the COVID-19 pandemic.”) (collecting cases) (emphasis

added). As such, a district court lacks authority to grant compassionate release pursuant to

section 3582(c)(1)(A) unless and until the statutory exhaustion requirement is satisfied.

       The statutory requirement that the BOP have the opportunity to address such requests in

the first instance serves important functions. The BOP conducts an extensive assessment for all

compassionate release requests. See 28 C.F.R. § 571.62(a); BOP Program Statement

5050.50, available at https://www.bop.gov/policy/progstat/5050_050_EN.pdf. The BOP’s

review, based on its expertise concerning both the inmate and the conditions of confinement, will

always be of value to the Court. That is certainly true during the present crisis, as the BOP is



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best positioned to assess the many relevant factors, including risks to the defendant in his current

placement, risks to the community from release, existence of an appropriate release plan, and

needs for pre-release quarantine. The BOP may also consider its recently broadened authority to

move prisoners into home confinement. See Section 12003(b)(2) of the Coronavirus Aid, Relief,

and Economic Security Act (“CARES Act”), Pub. L. No. 116-136, enacted March 27, 2020. At

the same time, the BOP continues to implement an extensive and evolving array of measures to

protect the health of the inmates in its charge. See www.bop.gov/coronavirus/; see also Raia,

2020 U.S. App. LEXIS 10582, at *6 (“[T]he mere existence of COVID-19 in society and the

possibility that it may spread to a particular prison alone cannot independently justify

compassionate release, especially considering BOP’s statutory role, and its extensive and

professional efforts to curtail the virus’s spread.”).

        In this case, Mr. Appleby offers no evidence that his request for release has been

presented to the BOP, nor does he claim that the exhaustion requirement has been satisfied.

Therefore, the instant motion for compassionate release should be denied, without prejudice to

the defendant filing a later motion with this Court demonstrating satisfaction of the statutory

exhaustion requirement.

        B.      The Court Lacks the Authority to Order that the Defendant be Released to
                Home Confinement.

        Mr. Appleby’s request that he be immediately released to home confinement fails to clear

a second jurisdictional hurdle. It is well established that a district court lacks the authority to

determine where an inmate is confined. Under federal law, “[t]he Bureau of Prisons shall

designate the place of the prisoner’s imprisonment.” 18 U.S.C. § 3621(b). Courts have

repeatedly stated that the BOP alone has this authority. See, e.g., United States v. Townsend, 631

Fed. App’x 373, 378 (6th Cir. 2015) (“The BOP, not the court, is responsible for designating the

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place of a prisoner’s imprisonment.”); United States v. Ceballos, 671 F.3d 852, 855 (9th Cir.

2011) (“While a district court judge has wide discretion in determining the length and type of

sentence, the court has no jurisdiction to select the place where the sentence will be served.

Authority to determine place of confinement resides in the executive branch of government and

is delegated to the Bureau of Prisons.”) (citation omitted); United States v. Jalili, 925 F.2d 889,

892 (6th Cir. 1991) (“Section 3621(b) gives the Bureau of Prisons the power to designate the

place of confinement for anyone sentenced to a term of imprisonment.”). Put simply, the BOP

“has the sole discretionary authority to designate an inmate’s federal place of imprisonment.”

Baldwin v. Warden, Madison Corr. Inst., No. 1:17-CV-686, 2018 U.S. Dist. LEXIS 131725, at

*5 (S.D. Ohio. Aug. 6, 2018).

       Under section 3621(b), this Court is not empowered to order that Mr. Appleby be

transferred to home confinement. Instead, “the authority to make this determination is squarely

allocated to the Attorney General, under whose authority is the Bureau of Prisons.” United

States v. Doshi, No. 13-CR-20349, 2020 U.S. Dist. LEXIS 55572, at *2 (E.D. Mich. Mar. 31,

2020); see United States v. Miller, No. 16-20222-1, 2020 U.S. Dist. LEXIS 62421, at *4 (E.D.

Mich. Apr. 9, 2020) (“[T]his Court and others have recognized that the authority to place a

prisoner in home confinement is given to the BOP, through Attorney General delegation[.]”). At

most, this Court could make a non-binding recommendation to the BOP. In this case, the Court

should not issue such a recommendation, but instead should defer to the BOP’s institutional

knowledge and expertise regarding the defendant’s medical condition, the conditions at the

facility at which he is being housed, and “decisions as to which prisoners should be released

because of the COVID-19 epidemic.” United States v. Garza, No. 18-CR-1745, 2020 U.S. Dist.

LEXIS 54228, at *3-4 (S.D. Cal. Mar. 27, 2020) (denying defendant’s motion for immediate



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release due to COVID-19 and refusing to recommend that BOP move defendant to home

confinement).

                                        CONCLUSION

       For the foregoing reasons, the United States respectfully requests that the defendant’s

motion for compassionate release be denied.

                                                    Respectfully submitted,

                                                    DAVID M. DEVILLERS
                                                    United States Attorney


                                                    s/ Brian J. Martinez
                                                    BRIAN J. MARTINEZ (CA 224587)
                                                    Assistant United States Attorney
                                                    303 Marconi Boulevard, Suite 200
                                                    Columbus, Ohio 43215
                                                    Office: (614) 469-5715
                                                    E-mail: Brian.Martinez2@usdoj.gov



                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Response to Defendant Bernd Appleby’s

Motion for Compassionate Release was served this 16th day of April 2020, by regular U.S. Mail,

to Bernd D. Appleby (#76965-061), Lompoc Correctional Institution, 3705 W. Farm Road,

Lompoc, CA 93436.

                                                    s/ Brian J. Martinez
                                                    BRIAN J. MARTINEZ (CA 224587)
                                                    Assistant United States Attorney




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